 

~ Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 1 of 20 PagelD #:1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
VIKRAM VARMA, )
)
Plaintiff, )
) No.
v. )
) Plaintiff Demands a Trial by
TCC WIRELESS LLC., ) Jury
a foreign limited liability )
corporation, and FRANK BAREE, )
an Individual ‘)
Defendants. )
COMPLAINT

Plaintiff, Vikram Varma, by and through his attorneys, Favaro & Gorman, Ltd. and for his
Complaint against the defendants, TCC Wireless LLC, a foreign limited liability corporation and

Frank Baree, an.individual, states and alleges as follows:
NATURE OF THE ACTION

1. This is an action for damages caused by defendants, TCC Wireless LLC’s (“TCC”)
and Frank Baree (“Baree”) for wrongful discharge of plaintiff, Vikram Varma, (“Varma”) from
employment, in violation of §102 of the Family and Medical Leave Act of 1993 (29 U.S.C. §2615)
(“FMLA”), Title VI of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000(e) et seq. and

for claims under the common law of the State of Illinois.
JURISDICTION AND VENUE

2. Jurisdiction of this Court over this controversy is invoked pursuant to the 29 U.S.C.

§2617; 28; U.S.C. §1311 and 1342(a)(4) and pursuant to pendent jurisdiction.
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 2 of 20 PagelD #:2

3. The unlawful employment practices described herein were committed within the
State of Illinois. TCC conducted business and employed Varma in the State of Illinois. -
Accordingly, venue in this Court is proper pursuant to 28 U.S.C. §1391(b).

4. On October 29, 2019, Varma filed his charge of discrimination with the Equal
Employment Opportunity Commission. See charge of discrimination attached hereto as Exhibit
“A’ and made a part hereof. A Notice of Right to Sue will be issued at the earliest opportunity.

PARTIES

5. Varma is a citizen of the United States of Indian origin and of Hindu faith, at all
times relevant hereto, a resident of Cook County, Illinois. Varma was employed as a Retail Auditor
for TCC at the time of the acts alleged hereinafter. Varma was an “employee” of TCC within the
meaning of 29 U.S.C. §2611(2)(A) at the time he requested TCC for a leave of absence from
employment.

6. TCC is a provider of wireless phone services and related businesses with various
locations in Illinois and elsewhere and operated as a franchise of TMobile. TCC was an
“employer” of Varma within the meaning of 29 U.S.C. §2611(4)(A) at all times relevant to this
action.

7. Frank Baree is an individual who resides and resided at all times relevant in Illinois
and was at all times relevant employed by TCC as a Director of Operations. He also had control
over whether Varma was able to take a leave of absence pursuant to the Family Medical Leave
Act and over whether Varma was subjected to retaliation and harassment as a result of asserting

his Family Medical Leave Act rights.

8. From May, 2016 to early Fall, 2017, Varma had been employed by TCC as a Retail
Store Manager and a Retail Training Manager; however, in the Fall of 2017, Varma left TCC for

other opportunities.
Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 3 of 20 PagelD #:3

9. In October, 2017, Varma was contacted by TCC to schedule a meeting with the
CEO Jay Malik (“Malik”).

10. Varma interviewed with Malik and Malik told him he would be a great fit for a
‘soon-to-be available role of Director of Operations with a salary between $75,000.00 and
$85,000.00.

11. In reliance on Malik’s representations, Varma began work as a Retail Auditor
earning $48,500.00 on November 1, 2017 with the understanding that his job title and salary would

be adjusted by February, 2018.

12. The duties of a Retail Auditor customarily included inventory and -brand
management.
13. Instead of training that would relate to the intended role, Varma was assigned to a

store in Addison, Illinois and spent one and a half months doing nothing but cleaning, rewiring
demos and organizing the backroom (all of which bore no relation to the job of Retail Auditor); he
was not even allowed to sell to.customers.

14. These circumstances created significant stress and unease with co-workers who
wanted to know what he was doing if he could not even help with customers.

15. Although Varma had been led to understand that he would report to Malik, it
became apparent that he was to report to Baree, who was apparently Director of Operations, the
role that had been promised to Varma.

16. Throughout the remainder of Varma’s employment, Baree would harass, demean

and mistreat Varma all as described hereafter.
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 4 of 20 PagelD #:4

17. At the end of the year 2017, there were two company events that all of Varma’s
teammates were invited to, one for Christmas, and one for New Years, but Varma was not included
in these invitations.

18. In January, 2018, Baree began to contact Varma on a regular basis to determine
what work he was doing, this despite the fact that Varma was not formally reporting to him.

19. When Varma asked Baree about having a conversation with Malik, Baree told
Varma that Malik was busy, that Varma should “keep his nose down” because the Company did
not like people who make waves and cause drama.

20. In February, 2018, Baree contacted Varma requesting that he come to the corporate
office in Carol Stream, Illinois.

21. When Varma arrived, Baree told him that he (Baree) was the Director of Operations
and that Varma would be remaining as a Retail Auditor with no adjustment to his pay.

22. Shortly thereafter, Varma told Baree that there would be about ten days that he
would need to request off for religious holy days and Baree told Varma that the company did not
recognize Hindu holidays, so he would not approve them and that Varma was not allowed to go to
human resources with this because “that would make noise”.

23. On information and belief, the Pakistani employees were allowed to leave early on
Friday and to have religious holy days off in light of their Muslim religious beliefs.

24. Throughout the remainder of his employment, anytime Varma needed to request
days off, Baree would want to know invasive details of the reason and plans before providing
approval (which was only allowed intermittently); on information and belief, Varma was the only

employee subjected to such scrutiny.
 

 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 5 of 20 PagelD #:5

25. By way of example, Varma requested to off to be with his father due to a surgery
and when he returned, other employees were inquiring about the surgery.

26. During the early months of 2018, Varma endeavored to perform duties as best
possible, despite the change in his intended role and the difficulties described herein.

27. In March, 2018, Baree commented “Man, your car smells” referring to the smell of
curry.

28. . In Spring, 2018, Baree also told Varma that he needed to put gel in his hair because
he looks like a “Desi” and that he was an embarrassment to the company: he finished his comments
by saying “you remember that “Desi Chut” Dilpreet? He did not want to do his job the way we
told him, so we fired that Chut. Don’t find yourself in the same boat you little Chut”. Varma was
sent home to change his clothes and style his accordingly.

29. In April, 2018, Varma was told by Baree that he was being written up for speaking
Hindi at one of the retail stores; the conversation had taken place in the back of the store and was
a personal conversation with Varma’s mother.

30. On information and belief, many of the Pakistani employees, including Baree,
would frequently speak Urdu and no one was written up for use of that language.

31. In June, 2018, Varma went on a trip to Miami and was accompanied by, among
others, Baree.

32. While on this trip, and at a nightclub, Baree grabbed Varma’s genitals.

33. | Varma was afraid to report this because all previous efforts to report infractions to
HR had been left unresponded and Baree repeatedly told him not to go to HR, that if he shared
concerns with anyone other than him, it would be trouble for Varma and that he and TCC “do not

like people who make noise”.
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 6 of 20 PagelD #:6

34, In July, 2018, Varma was sent to visit a location in Gurnee, Illinois to conduct a
formal audit and ensure brand compliance but was directed by the District Manager to leave the
location because he was not allowed to be there on Fridays.

35. Varma explained that if she had any issues, we should speak with HR.

36. Shortly thereafter Varma received a call from Baree demanding that Varma pack
up and leave the store; to which, Varma explained that he would be bringing the issue to HR; and
to which Baree advised him not to do so because TCC did not like people who made noise and
complained about their job.

37. | Varma contacted HR and was told by the HR Manager that she would speak with
the individuals involved; however, two weeks later she was no longer employed at TCC, his
complaint was ignored and the harassment and discrimination against Varma by Baree escalated .

38. From this point forward, Baree assigned side tasks and personal errands to Varma
on a nearly daily basis (all of which bore no relation to the job of Retail Auditor).

39. In August, 2018, TCC had acquired about 64 new stores and scheduled an event at
the Hyatt in Schaumburg to highlight this acquisition.

40. Varma was directed to photograph the event, without compensation or recognition.

41. In the course of the event, Varma was required to photograph subordinates; Baree
and other managers were making demeaning remarks regarding Varma’s services at this event.

42. At 9:00 -9:30 p.m., Varma attempted to leave and go home, but was told by Baree

that he should continue taking pictures and that if he left he would be written up for
insubordination. In addition, Baree also sent Varma to Target to buy plastic baggies for Baree.

43. In response to these threats, and in fear of loss of his job, Varma continued to take

pictures.
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 7 of 20 PagelD #:7

44. Upon information and belief, other non-Indian and non-Hindu teammates also
performed job duties at the event but were compensated with $600.00 in gift cards and had verbal
recognition of their help that night.

45, In October, 2018, Baree directed Varma to drive to each of the 64 new locations on
three separate times to (1) deliver “Now Hiring” signs and to install same, (2) to deliver regulated
waste baskets, and (3) to clean the windows of each location. and to clean the stores out from front
to back (all of which bore no relation to the job of Retail Auditor).

46. In the course of performing these duties, Varma was required to drive over 5000
miles on his personal automobile. Baree told him that he could not expense any of the vehicle use
because it was part of his job; Varma complained that this was not fair and that he was not
performing his job duties but miscellaneous menial tasks at Baree’s discretion.

47. Baree gave everyone Thanksgiving off except for Varma, who was required to
work.

48. In Fall of 2018, Baree began to make offensive and derogatory comments toward
Varma about his national origin and/or religion.

49. Such comments continued until the termination of Varma’s employment.

50. These comments and the mistreatment of Varma on the basis of his national origin
and/or religion were ongoing.

51. On an occasion in December, 2018, Baree said to Varma “Man I looked at a house
this weekend, it was owned by some of these “Curry Desis” and the house smelled disgusting. It
is all those spices that you people use, does your house smell like this?”

52. In Winter, 2018, Baree also made derogatory comments regarding Varma’s attire,

including a blue sapphire and gold chain that had cultural significance for Varma, specifically
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 8 of 20 PagelD #:8

calling Varma a “Chumkeelah”, Baree said that Varma looked like a Desi girl going to her wedding
and he was not to wear the jewelry anymore. |

53. In January, 2019, Varma requested FMLA leave through a third-party provider who
approved the leave.

54. Despite that approval, Baree insisted that Varma provide him with details and
insisted that he (Baree) was entitled to learn all such information.

55. In or about January, 2019, Varma was relocated to a location in Hoffman Estates,
Illinois, again to clean the store, rewire displays and perform menial tasks for Baree, including .
delivering parts and inventory from one store to another.

56. In the weeks prior to the requested leave, Baree continuously berated and harassed
Varma because of the requested FMLA leave.

57. While on leave, Baree continued to harass Varma by texting and calling him
repeatedly and after hours.

58. In the course of these communications, Baree repeatedly told Varma “it doesn’t
matter what you’re on (meaning FMLA)” and “you are not one of us, quit acting like a Chut and
know your place. I thought I made that clear when you started. You don’t have the right to make
your own schedule without my approval and dictate where and when you want to go”.

59. Within a few days of the FMLA leave beginning, Baree contacted the third-party
provider and upon information and belief gained access to copies of Varma’s private medical
records.

60. During this same time, Baree sent emails copying the Director of Human Resources
stating that Varma needed to come to the office, so he could “talk to me”, despite Varma’s FMLA

Leave.
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 9 of 20 PagelD #:9

61. All of the foregoing caused anxiety and stress which negatively affected Varma’s
healing process.

62. Varma was on FMLA leave from January 16, 2019 to February 8, 2019.

63. Upon his return from FMLA leave, Baree directed that Varma travel to over 45
stores picking up and carrying heavy TVs back to the corporate office (all of which bore no relation
to the job of Retail Auditor).

64. This project was plainly retaliatory for Varma’s exercise of his FMLA rights.

65. As Varma was not yet healed, this project caused further injury.

66. AS part of this project, Baree directed that Varma clean out a company van which
was filthy and contained mold (which bore no relation to the job of Retail Auditor).

67. At or about this point and going forward, other employees began to ask Varma if
he was part of the maintenance team rather than as a Retail Auditor.

68. At this same time, Baree directed that Varma clean and fix up retail stores, clean
windows, reorganize filthy back rooms, (some with rodent infestation and some that smelled like
sewers), change batteries, remerchandise stores, and set up demo devices (all of which bore no
relation to the job of Retail Auditor); his work was referred to by Baree as “monkey work” and
would require travel to three or four stores a day.

69. In April, 2019, Varma again requested FMLA leave, first by telling Baree he would
be requesting leave to which Baree responded “if you go on medical leave, you won’t have a job
when you get back.”

70. Despite Baree’s warning, Varma needed the leave and exercised his FMLA rights.

Varma was on FMLA leave from April 23, 2019 to May 28, 2019.
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 10 of 20 PagelD #:10

71. When Varma returned to work on May 28, 2019, following his FMLA leave, he
arrived promptly at 8:45 and went to see Baree’s father to ask him why his IPass was not working
anymore; Baree’s father responded that “It’s because you’re getting fired today. My son told me
that you had been taking too much time off work and he doesn’t like people like that”.

72. When Varma saw Baree upon his arrival, he went to his office and asked for his
schedule and was told “you don’t have one and go see Kate ”.

73. When he met with Kate, she handed him termination paperwork, and _ his
employment ended.

COUNTI —
VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT
INTERFERENCE

74. Varma restates and realleges paragraphs 1 through 73 as though fully stated herein.

75. . TCC and Baree interfered with his rights to FMLA leave and terminated his
position with TCC.

, 16. The foregoing actions taken against Varma were in violation of 29 U.S.C.A.
§2615(a).
Wherefore, Plaintiff, Vikram Varma, respectfully requests this Court enter judgment

against Defendants for the following:

(a.) Enter a judgment that defendant’s termination of Varma’s position following his
request for leave was done in violation of 29 U.S.C. §2615 of the Family and Medical
Leave Act of 1993;

(b.) Enter a judgment pursuant to 29 U.S.C. §2617 (a)(1)(A)@(D against Defendants
and in favor of Varma for wages, salary, employment benefits or other compensation
denied or lost to Varma by reason of the Defendants’ unlawful actions;

(c) Enter a judgment pursuant to 29 U.S.C.§2617(a)(1)(A)(1) for interest on the
above amount calculated at the prevailing rate;

10
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 11 of 20 PagelD #:11

(d.) | Enter a judgment pursuant to 29 U.S.C.§2617(a)(1)(A)(iii) for liquidated damages
equal to the sum of the amount described in clause (b) above and the interest on the
amount described in clause c above.

(e.) | Enter a judgment pursuant to 29 U.S.C. §2617 (a)(3) against Defendants and in
favor of Varma for reasonable attorneys’ fees and costs and expert witness fees incurred
by Varma in connection with the instant action;

(f.) | Such other equitable relief as may be appropriate including employment,
reinstatement and promotion; and

(g-) | Award Varma such further and other relief as the Court may deem just and
proper.

COUNT I
VIOLATION FAMILY AND MEDICAL LEAVE ACT
RETALIATION
77. Varma restates and realleges paragraphs 1 through 73 as though fully stated

herein.
78. TCC retaliated against Varma by subjecting him to criticism, intolerable work
conditions and terminating his employment. |
79. These actions occurred within a short period of time following Varma’s assertion
of rights and so create the reasonable inference that were retaliatory based on Varma’s requests

for time-off pursuant to the Family and Medical Leave Act.

80. The foregoing actions taken against Varma were in violation of 29 U.S.C.A.
§2615(a).
Wherefore, Plaintiff, Vikram Varma, respectfully requests this Court enter judgment

against Defendants: -

a. Enter a judgment that Defendants’ termination of Varma’s position following his
request for leave was done in violation of 29 U.S.C. §2615 of the Family and Medical
Leave Act of 1993;

a
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 12 of 20 PagelD #:12

herein.

b. Enter a judgment pursuant to 29 U.S.C. §2617 (a)(1)(A)(G)() against the
Defendants and in favor of Varma for wages, salary, employment benefits or other
compensation denied or lost to Varma by reason of the Defendants’ unlawful actions,

c. Enter a judgment pursuant to 29 U.S.C.§2617(a)(1)(A)(ii) for interest on the above
amount calculated at the prevailing rate;

d. Enter a judgment pursuant to 29 U.S.C.§2617(a)(1)(A)(iii) for liquidated damages
equal to the sum of the amount described in clause (b) above and the interest on the amount
described in clause c above. -

e. Enter a judgment pursuant to 29 U.S.C. §2617 (a)(3) against Defendants and in
favor of Varma for reasonable attorneys’ fees and costs and expert witness fees incurred
by Varma in connection with the instant action;

f. Such other equitable relief as may be appropriate including employment,
reinstatement and promotion; and

g. Award Varma such further and other relief as the Court may deem just and proper.
COUNT I
NATIONAL ORIGIN, HARASSMENT AND DISCRIMINATION

42 U.S.C. §2000(e), et. seq. (‘'Title VII")
81. Varma restates and realleges paragraphs | through 73 as though fully stated

82. | TCC and Baree subjected Varma to harassment and discrimination because of his

national origin, Indian, as described above.

83. TCC and Baree intentionally discriminated against Varma because of his national

origin, Indian, when it terminated his employment agreement with TCC.

84. Such discriminatory conduct impairs Varma’s rights of enjoyment of all benefits and

privileges of his employment with TCC in violation of Title VIL.

85. As a result of TCC and Baree’s intentional, discriminatory treatment, Varma has

sustained loss of wages, loss of enjoyment of life, physical and psychological pain and suffering,

injury to reputation and emotional distress in an amount to be proved at trial.

12
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 13 of 20 PagelD #:13

Wherefore, Plaintiff, Vikram Varma, respectfully requests this Court enter judgment

against Defendants for the following:

herein.

a. Enter a declaratory judgment that the acts and practices of Defendants complained
of herein are in violation of the laws of the United States;

b. Order Defendants to make Varma whole by paying him lost back pay and employee
benefits;

C.. Order Defendants to compensate Varma for the pain, suffering and humiliation
Varma has suffered as a result of Defendants’ illegal actions in an amount to be determined
at trial.

d. Award Varma other compensatory and punitive damages in an amount to be
determined at trial.

€. Award Varma costs of this suit, reasonable attorneys' fees, expert witness fees, if
any, and such other relief available under Title VII, 42 U.S.C. $1981 and the common law
of the State of Illinois; and ,

f. Grant any other relief that this Court may deem just and proper.
COUNT IV
RELIGION, HARASSMENT AND_ DISCRIMINATION

42 U.S.C. §2000(e), et. seq. ("Title VII'')
86. Varma restates and realleges paragraphs | through 73 as though fully stated

87. TCC and Baree subjected Varma to harassment because of his religion, Hindu as ~

described above.

88. TCC and Baree intentionally discriminated against Varma because of his religion,

Hindu when it terminated Varma's employment with TCC.

89. Such discriminatory conduct impairs Varma’s rights of enjoyment of all benefits and

privileges of his employment with TCC in violation of Title VIL.

13
Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 14 of 20 PagelD #:14

90. As a result of TCC and Baree's intentional, discriminatory treatment, Varma has
sustained loss of wages, loss of enjoyment of life, physical and psychological pain and suffering,
injury to reputation and emotional distress in an amount to be proved at trial:

Wherefore, Plaintiff, Vikram Varma, respectfully requests this Court enter judgment

against Defendant for the following:

a. Enter a declaratory judgment that the acts and practices of Defendants complained .

of herein are in violation of the laws of the United States;

b. Order Defendants to make Varma whole by paying him lost back pay and employee
benefits;

c. Order Defendants to compensate Varma for the pain, suffering and humiliation
Varma has suffered as a result of Defendants’ illegal actions in an amount to be determined
at trial.

d. Award Varma other compensatory and punitive damages in an amount to be
determined at trial.

e. Award Varma costs of this suit, reasonable attorneys’ fees, expert witness fees, if
any, and such other relief available under Title VII, 42 U.S.C. §1981 and the common law
of the State of Illinois; and

f. Grant any other relief that this Court may deem just and proper.
COUNT V
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

91. Varma restates and realleges paragraphs 1 through 73 above as though fully set

forth herein.
92. That the conduct of TCC and Baree as alleged above was outrageous.

93. As a direct and proximate result of such conduct Varma suffered and continues to
suffer severe emotional distress and injuries including but not limited to pain, suffering, anguish,

embarrassment and humiliation.

94. Defendants knew or should have known of the consequences of their conduct.

14
Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 15 of 20 PagelD #:15

95. That Varma has suffered and will continue to suffer damages in an amount to be

determined by a jury at trial.

WHEREFORE, Plaintiff, Vikram Varma, prays this Court enter judgment in his favor and

_against the Defendants as follows:

a. Compensatory damages in an amount to be determined at trial; and
b. Punitive damages in an amount to be determined at trial; and
c. That Varma be awarded such other and further relief as the Court may deem just
and proper.
COUNT VI
INVASION OF PRIVACY

 

96. Varma restates and realleges paragraphs 1 through 73 above as though fully set

forth herein.

97. At all times relevant hereto, Varma had a reasonable expectation of privacy in the

medical circumstances for which he required FMLA Leave.

98. As alleged above, Baree intruded upon the solitude and seclusion of Varma by

obtaining his confidential medical information without his knowledge and permission.
99. Such conduct is highly offensive to a reasonable person.

100. Such conduct has caused Varma to suffer emotional distress, embarrassment and

humiliation,

Wherefore, Plaintiff, Vikram Varma, respectfully requests this Court enter judgment

against Defendants for the following:

15
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 16 of 20 PagelD #:16

a. Enter a declaratory judgment that the acts and practices of Defendants complained
of herein are in violation of the laws of the United States;

b. Order Defendants to make Varma whole by paying him lost back pay and employee
benefits;

C. Order Defendants to compensate Varma for the pain, suffering and humiliation ©
Varma has suffered as a result of Defendants’ illegal actions in an amount to be determined
at trial.

d. Award Varma other compensatory and punitive damages in an amount to be
determined at trial.

e. Award Varma costs of this suit, reasonable attorneys’ fees, expert witness fees, if
any, and such other relief available under Title VI, 42 U.S.C. §1981 and the common law
of the State of Illinois; and

f. Grant any other relief that this Court may deem just and proper.

JURY DEMAND
Varma demands a trial by jury on all counts properly submissible to a jury.

Respectfully Submitted,
Favaro.& Gorman, Ltd.

By:  /s Patrick J. Gorman
One of the plaintiffs attorneys

Dennis R. Favaro

dfavaro @ favarogorman.com
Patrick J. Gorman

pgorman @ favarogorman.com
Favaro & Gorman, Ltd.

835 Sterling Avenue

Suite 100

Palatine, Illinois 60067

(847) 934-0060

16
Caseée.1:19-cv-07153 Document #:.1 Filed:

 

 

Q/30/19 Page 17 of 20 PagelD #:17

 

 

 

CHARGE OF DISCRIMINATION | AGENCY CHARGE NUMBER
‘This farm is affected by the Privacy Act of 1974; See Privacy Act Statement before fas
_Cenepleting tis form. EEOC
Hilinois Dept. of Human Rights and EEOC

 

State ar local Agency, if any

 

NAME {indicate Afr., Als, or Airs.)
Mr. Vikram Varma

HOME TELEPHONE (include area code)
(847) 660-4521

 

 

STREET ADDRESS

CITY, STATE AND ZIP CODE
700 East Algonquin Road, Unit 2405, Schaumburg, Illinois 60173

DATE OF BIRTH

 

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY APPRENTICESHI P COMMITTEE,
STATE OR LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME if more than one list below.)

 

 

 

 

 

 

 

 

CITY, STATE, AND ZIP CODE

Name TCC Wireless LLC. | NUMBERS OF EMPLOYEES, MEMBERS TELEPHONE NUMBER (Include Area Code)
| = 15+ | (630) 480-2224

STREET ADDRESS CITY, STATE AND ZIP CODE | COUNTY

175 S. Bloomingdale Road, Bloomingdale, Illinois 60108 | DuPage

(NAME TELEPHONE NUMBER (Inclade area code)

STREET ADDRESS COUNTY

 

 

[ sex

PF Race [" coLor

F" RETALIATION = [7 AGE

CAUSE OF DISCRIMINATION BASED ON (check appropriate box(es})

_ RELIGION $V NATIONAL ORIGIN

[ DISABILITY

DATE DISCRIMINATION TOOK PLACE
EARLIEST (ADEA/EPA) LATEST (ALL)

November 2017 - May 28, 2619

J¥ CONTINUING ACTION
[~ OTHER (SPECIFY)

 

 

THE PARTICULARS ARE (if additional space is needed, attached extra sheet (5):

**See Attached**

 

J Jaleo want this charge filed with the Ulinols —
Department of Human Rights. 1 will advise the agencies
if I change my address or telephone number and [ will
cooperate fully with them in the processing of my charge

 

NOTARY (Necessary for State and Locel Requirements)

 

I swear or affirm that I have read the above charge and that is true to the best of my
knowledge, information and bellef.

 

trae and correct.

 

| Notary Signature & Stump

 

in accordance with their procedure. \
x Vea io % 10-10-14 — eS X 10-10-44
"| V declare ender penalty of perjury that the foregoing is SIGNATURE OF COMPLAINANT DATE

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE (day, month, and year)

 

 
Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 18 of 20 PagelD #:18

Vikram Varma v. TCC Wireless LLC.

1.

14.

I was employed by Respondent from May 2016 until early Fall 2017. In the Fall
of 2017, I left Respondent to pursue other opportunities. I became re-employed
with Respondent on November 1, 2017. My position at the time of my hire in
November 2017 was that of a Retail Auditor. I took the position of Retail Auditor
with the understanding that my job title and salary would be adjusted in February
2018. .

My national origin is Indian. My religion is Hindu.

At all times relevant hereto, I met the reasonable expectations of Respondent.

I was hired by the CEO Jay Malik (national origin: Pakistani, religion: Muslim).
I reported to the Director of Operations, Frank Baree (“Baree”), (national origin:
Pakistani, religion: Muslim).

I was led to believe that I would report to Malik, but it became apparent to me that
I was to report to Baree, who was apparently The Director of Operations, the role
that had been promised to me by Malik at the time of my hire.

Throughout my employment, I was subjected to unwelcomed offensive and
derogatory comments by Baree on the basis of my national origin and/or religion.

- . Shortly after my hire, I told Baree that I would need ten days off for religious

holidays. In response, Baree told me that Respondent did not recognize Hindu
holidays. My requests for time off for religious holidays was not approved.
Further, I was told by Baree that I was not allowed to go to human resources with
my request because “that would make noise”. -

Upon information and belief, Pakistani employees were allowed to leave early on

_ Fridays and to have religious days off in light of their Muslim religious beliefs.

Upon information and belief, many of the Pakistani employees, including Baree,
would frequently speak Urdu and no one was written up for use of the Urdu
language.

In March 2018, Baree commented to me “Man, your car smells” referring to the
smell of curry.
Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 19 of 20. PagelD #:19

Vikram Varma v. TCC Wireless LLC.

10.

11.

‘12. -

12.

13.

15.

16.

In the Spring of 2018, Baree told me that I needed to put gel in my hair because I
looked like a “Desi” and that I was an embarrassment to the company. He further
stated that “you remember that “Desi Chut” Dilpreet? He did not want to do his
job the way we told him, so we fired that Chut. Don’t find yourself in the same
boat you little Chut”. I was sent home to change my clothes and style.

In April 2018, I was told by Baree that I was being written up for speaking Hindi
at one of Respondent’s retail stores. The conversation for which I was being written
up about took place in the back of the store and was a a personal conversation with
my mother.

In August 2018, Respondent acquired sixty-four stores and scheduled an event at
the Schaumburg Hyatt to highlight this acquisition. I was required to photograph
subordinates. Baree and other managers made demeaning remarks to me during
this event. I attempted to leave to go home between 9:00 — 9:30 p.m. I was told by
Baree that I should continue taking pictures and, if I left, I would be written-up for
insubordination. I also was sent by Baree to Target to buy plastic bags for Baree.

Other non-Indian and non-Hindu teammates, who also performed job duties at the
event, were compensated with $600 in gift cards and had verbal recognition of their
help. I was not given any gift cards nor was given any verbal recognition for my
participation.

In the early Winter of 2018, Baree also made derogatory comments regarding my
attire, including a blue sapphire that had cultural significance for me, specifically
saying “you look like a Desi girl with your jewelry going to her wedding: don’t
wear any of it at work anymore”.

In December 2018, Baree said to me “Man I looked at a house this weekend, it was
owned by some of these “Curry Desis” and the house smelled disgusting. It is all
those spices that you people use, does your house smell like this?”

I repeatedly complained to human resources about Baree’s comments and
treatment. My complaints went unanswered, and I was often told by Baree that
Respondent did not like employees who “made noise” and complained.

In January 2019, I took a leave pursuant to the Family and Medical Leave Act.
While on leave, Baree repeatedly texted me and called me after hours. On one
occasion, Baree said to me, “it doesn’t matter what you’re on (meaning FMLA)”
and “you are not one of us, quit acting like a Chut and know your place. I thought
I made that clear when you started. You don’t have the right to make your own
schedule without my approval and dictate where and when you want to go”.
 

Case: 1:19-cv-07153 Document #: 1 Filed: 10/30/19 Page 20 of 20 PagelD #:20

Vikram Varma v. TCC Wireless LLC.

17. I took a second leave pursuant to the Family and Medical Leave on from April 23,
2019 to May 28, 2019. Upon my return on May 28, 2019, I was terminated from
my employment.

18. I believe that I have been discriminated and terminated in because of my national
origin and religion in violation of Title VII of the Civil Rights Act of 1964, as
amended, and the Illinois Human Rights Act.
